                 Case 23-10815-LSS               Doc 70        Filed 07/11/23         Page 1 of 3




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                          ) Chapter 11
                                                                )
Peer Street, Inc., et al..1                                     ) Case No. 23-10815 (LSS)
                                                                )
                  Debtors.                                      ) (Jointly Administered)


                     NOTICE OF LIMITED APPEARANCE AND REQUEST
                       FOR SERVICE OF NOTICES AND PLEADINGS



         PLEASE TAKE NOTICE THAT that James Tobia, Esquire, of The Law Office of
James Tobia, LLC, hereby enters his limited appearance on behalf of Jax SFH Properties, LLC
(the “Party in Interest”).


         PLEASE TAKE FURTHER NOTICE that the Party in Interest requests, pursuant to
Bankruptcy Rules 2002, 9007 and 9010 and Sections 102(1), 342 and 1109(b) of Chapter 11,
Title 11 of the United States Code (the "Bankruptcy Code"), that all notices given or required to
be given in this case and all papers served or required to be served including, but not limited to,
all notices filed and served, be given to and served upon the undersigned at the following office
addresses, telephone and facsimile numbers and e-mail addresses:


1
    The Debtors in these chapter 11 cases, along with the last four digits of their respective federal tax identification
    numbers, are: Peer Street, Inc. (8584); PS Funding, Inc. (3268); PeerStreet Licensing, Inc. (9435); Peer Street
    Opportunity Fund GP, LLC (8491); Peer Street Funding LLC (9485); PSF REO LLC (1013); PS Options LLC
    (8584); PS Warehouse, LLC (5663); PS Warehouse II, LLC (9252); Peer Street Opportunity Investors II, LP
    (1586); PS Portfolio-ST1, LLC (1868); PSF Ohio, LLC (9485); PSF TX 1, LLC (9485); PSF TX 2, LLC
    (2415); PSF TX 4 LLC (9485). The Debtors’ service address is c/o Province, LLC 2360 Corporate Circle, Suite
    340, Henderson, NV 89074, Attn: David Dunn, Chief Restructuring Officer.
               Case 23-10815-LSS          Doc 70     Filed 07/11/23      Page 2 of 3




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       PLEASE TAKE FURTHER NOTICE that, pursuant to Section 1109(b) of the
Bankruptcy Code, the foregoing demand includes not only the notices and papers referred to in
the Bankruptcy Rules specified above but also includes, without limitation, orders and notices of
any application, motion, petition, pleading, request, complaint or demand, whether formal or
informal, whether written or oral, and whether transmitted or conveyed by mail, delivery,
telephone, telegraph, telefax, facsimile transmission, e-mail or otherwise, which affect the
Debtors or property of the Debtors.


       PLEASE TAKE FURTHER NOTICE that the Party in Interest intends that neither this
Notice of Appearance nor any later appearance, pleading, claim, or suit shall waive (1) the right
of the Party in Interest to have final orders in noncore matters entered only after de novo review
by a District Judge; (2) the right of the Party in Interest to trial by jury in any proceeding so
triable in this case or any case, controversy, or proceeding related to this case; (3) the right of the
Party in Interest to have the District Court withdraw the reference in any matter subject to
mandatory or discretionary withdrawal; or (4) any other rights, claims, actions, defenses, set-
offs, or recoupments to which the Party in Interest is or may be entitled under agreements, in
law, in equity, or otherwise, all of which rights, claims, actions, defenses, set-offs, and
recoupments are expressly reserved.
              Case 23-10815-LSS   Doc 70     Filed 07/11/23   Page 3 of 3




Dated: July 11, 2023
                                           THE LAW OFFICE OF JAMES TOBIA, LLC

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